

People v Detres (2025 NY Slip Op 02082)





People v Detres


2025 NY Slip Op 02082


Decided on April 9, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 9, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

VALERIE BRATHWAITE NELSON, J.P.
PAUL WOOTEN
BARRY E. WARHIT
LOURDES M. VENTURA, JJ.


2023-05722
 (Ind. No. 6952/19)

[*1]The People of the State of New York, respondent,
vRaynardee Detres, appellant.


Barket Epstein Kearon Aldea &amp; LoTurco, LLP, Garden City, NY (Donna Aldea of counsel), for appellant.
Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove, Julian Joiris, and David E. Mehl of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the Supreme Court, Kings County (Eugene M. Guarino, J.), rendered July 17, 2023, convicting him of course of sexual conduct against a child in the second degree, upon his plea of guilty, and imposing sentence.
ORDERED that the judgment is affirmed.
Contrary to the defendant's contention, the record demonstrates that he knowingly, voluntarily, and intelligently waived his right to appeal (see People v Thomas, 34 NY3d 545, 558-564; People v Lopez, 6 NY3d 248, 255-257; People v Corbin, 121 AD3d 803, 804-805). The defendant's valid waiver of his right to appeal precludes appellate review of his challenge to the Supreme Court's denial of his motion pursuant to CPL 30.30 to dismiss the indictment on the ground that he was deprived of his statutory right to a speedy trial (see People v Montano, _____ AD3d _____, _____, 2025 NY Slip Op 01110, *1; People v McLeod, 235 AD3d 999; People v Gore, 224 AD3d 848, 848-849).
BRATHWAITE NELSON, J.P., WOOTEN, WARHIT and VENTURA, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








